        Case 4:25-mj-00017-AGH Document 1 Filed 01/27/25                      Page 1 of 2
                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

UNITED STATES OF AMERICA

                       v.                                    CASE NO. 4:25-mj-17          (AGH)

VINCE LOVE
_____________________________

THE UNITED STATES ATTORNEY CHARGES:

                                     COUNT ONE
                               (RECKLESS STUNT DRIVING)

                                  VIOLATION NO. E2278124

       That on or about October 15, 2024, on lands acquired for the use of the United States and

under the exclusive jurisdiction thereof, known as the United States Army Maneuver Center of

Excellence, Fort Moore, Georgia, and located within the Columbus Division of the Middle District

of Georgia and within the jurisdiction of this Court, VINCE LOVE did operate a vehicle while

unlawfully laying drags in reckless disregard for the safety of persons on a highway; in violation

of Title 18, United States Code, Sections 7 and 13, in conjunction with the Official Code of Georgia

Annotated, Section 40-6-390.1.



                                         COUNT TWO
                                       (LAYING DRAGS)

                                  VIOLATION NO. E2278125

       That on or about October 15, 2024, on lands acquired for the use of the United States and

under the exclusive jurisdiction thereof, known as the United States Army Maneuver Center of

Excellence, Fort Moore, Georgia, and located within the Columbus Division of the Middle District

of Georgia and within the jurisdiction of this Court, VINCE LOVE did unlawfully operate a

vehicle upon public streets in such a manner as to create a danger to persons or property by

intentionally and unnecessarily laying drags, in violation of Title 18, United States Code, Sections

7 and 13, in conjunction with the Official Code of Georgia Annotated, Section 40-6-251.
        Case 4:25-mj-00017-AGH           Document 1       Filed 01/27/25      Page 2 of 2


                                        COUNT THREE

                              (SUSPENDED REGISTRATION)

                                  VIOLATION NO. E2017931

       That on or about October 15, 2024, on lands acquired for the use of the United States and

under the exclusive jurisdiction thereof, known as the United States Army Maneuver Center of

Excellence, Fort Moore, Georgia, and located within the Columbus Division of the Middle

District of Georgia and within the jurisdiction of this Court, VINCE LOVE did knowingly drive

a motor vehicle on a public highway at a time when the registration of such vehicle was

suspended, canceled, or revoked; in violation of Title 18, United States Code, Sections 7 and 13,

in conjunction with the Official Code of Georgia Annotated, Section 40-6-15.

                                         COUNT FOUR

                                    (EXCESSIVE SPEED)

       That on or about October 15, 2024, on lands acquired for the use of the United States and

under the exclusive jurisdiction thereof, known as the United States Army Maneuver Center of

Excellence, Fort Moore, Georgia, and located within the Columbus Division of the Middle

District of Georgia and within the jurisdiction of this Court, VINCE LOVE did unlawfully drive

a motor vehicle at a speed greater than was reasonable and prudent under the conditions; in

violation of Title 18, United States Code, Sections 7 and 13, in conjunction with the Official

Code of Georgia Annotated, Section 40-6-180.

                                                C. SHANELLE BOOKER
                                                ACTING UNITED STATES ATTORNEY

                                                 /s/ Scott D. Gronsky
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